               Case 2:09-cr-00170-GEB Document 29 Filed 06/25/10 Page 1 of 3


 1   C. EMMETT MAHLE, SBN 104069
     Attorney at Law
 2   901 H Street, Suite 203
     Sacramento, CA 95814
 3   (916) 447-1646
     Mahlelaw@sbcglobal.net
 4
     Attorney for Defendant
 5   ROBERT CARR
 6                                IN THE UNITED STATES DISTRICT COURT

 7                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                         Case No.: CR.S-09-00170-GEB

 9                  Plaintiff,

10          vs.                                        STIPULATION AND (PROPOSED) ORDER

11   ROBERT CARR,
                                                    Date: June 25, 2010
12                   Defendant.                     Time: 9:00 a.m.
                                                    Judge: Hon. Garland E. Burrell
13                                        STIPULATION
14          IT IS HEREBY STIPULATED between the parties, Samuel Wong, Assistant United
15   States Attorney, for plaintiff United States of America, on the one hand, and Douglas Beevers,
16   Assistant Federal Defender, attorney for defendant Theresa Ann Carr, and C. Emmett Mahle,
17   attorney for defendant Robert Carr, on the other hand, that the status conference of June 25,
18   2010, at 9:00 a.m., be vacated, and the matter be set for status conference on August 6, 2010,
19   at 9:00 a.m.
20          The reason for the continuance is that counsel is expecting to receive a plea agreement
21   and we are continuing ongoing plea negotiations. Also, defense counsel need additional time to
22   discuss with their respective clients of the state of the evidence which is voluminous and
23   comprises over 30 boxes of documents, the ramifications of any plea offer, and the risks of
24   proceeding with the litigation. Based on these facts, the parties stipulate and agree that it is
25   unreasonable to expect adequate preparation for pretrial proceedings and trial itself within the
26   time limits established in 18 U.S.C. § 3161, the case is unusual or complex within the meaning
27   of the Speedy Trial Act, and the requested continuance is necessary to provide defense counsel
28




                                                     - 1 -
                  Case 2:09-cr-00170-GEB Document 29 Filed 06/25/10 Page 2 of 3


 1   reasonable time necessary for effective preparation, taking into account the exercise of due
 2   diligence.
 3          IT IS STIPULATED that the period from the date of the parties’ stipulation, June 23,
 4   2010, and up to and including August 6, 2010, shall be excluded in computing the time within
 5   which trial of this matter must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C
 6   §3161(h(7)(A) and (B) (ii) and (iv) and Local Codes T2 (unusual and complex case) and T4
 7   (ongoing preparation of defense counsel).
 8   DATED:        6/23/10   _____                  /s/ C. Emmett Mahle
 9                                                 C. EMMETT MAHLE
                                                   Attorney for Defendant
10                                                 ROBERT CARR
11   DATED:        6/23/10 _ _____                  /s/ Douglas Beevers
12                                                 DOUGLAS BEEVERS
                                                   Attorney for Defendant
13                                                 THERESA ANN CARR
14
                                                   BENJAMIN B. WAGNER
15                                                 United States Attorney
16   DATED:        6/23/10 _ _____           By:    /s/ Samuel Wong
17                                                 SAMUEL WONG
                                                   Assistant U.S. Attorney
18

19

20                                                 ORDER
21          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
22   status conference presently set for June 25, 2010, be continued to August 6, 2010, at 9:00 a.m.
23   Based on the representation of defense counsel and good cause appearing therefrom, the
24   Court hereby finds that that it is unreasonable to expect adequate preparation for pretrial
25   proceedings and trial itself within the time limits established in 18 U.S.C. § 3161, the case is
26   unusual or complex within the meaning of the Speedy Trial Act, and the requested continuance
27   is necessary to provide defense counsel reasonable time necessary for effective preparation,
28   taking into account the exercise of due diligence. The Court finds the ends of justice to be




                                                     - 2 -
               Case 2:09-cr-00170-GEB Document 29 Filed 06/25/10 Page 3 of 3


 1   served by granting a continuance outweigh the best interests of the public and the defendant in
 2   a speedy trial. It is ordered that time from the date of the parties’ stipulation, June 23, 2010, up
 3   to and including, the August 6, 2010, status conference shall be excluded from computation of
 4   time within which the trial of this matter must be commenced under the Speedy Trial Act
 5   pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (unusual and
 6   complex case) and T4 (allow defense counsel reasonable time to prepare).
 7

 8   DATED: 6/25/10
            6/26/10
 9

10
                                                GARLAND E. BURRELL, JR.
                                                United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     - 3 -
